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                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

 I, Kevin Vassighi, Special Agent with Homeland Security Investigations, being duly sworn,
 deposes and states under penalty of perjury that the following is true to the best of my
 information, knowledge, and belief.

                                         BACKGROUND

 1. I am a Special Agent (“SA”) with DHS/HSI and have been so employed since September 2015. I
    am currently assigned to the HSI Office of the Special Agent-in-Charge, Cyber-Financial &
    Emerging Technology Crimes Group in Denver, Colorado. I am an investigative or law
    enforcement officer within the meaning of Title 18, United States Code, Section 2510(7); that is,
    an officer of the United States, who is empowered by law to conduct investigations of and to
    make arrests for offenses enumerated in Titles 18 and 21 of the United States Code. I am
    charged with investigating what can generally be described as financial and smuggling crimes.
    Examples of these types of crimes would include, money laundering, operating unlicensed
    money transmitting businesses, importation of controlled substances, and violations of the Bank
    Secrecy Act (31 U.S.C. 5311 et seq., the “BSA”). I have also been cross designated by the Drug
    Enforcement Administration to conduct controlled substance investigations and make arrests
    based on violations of Title 21 of the United States Code

 2. I have successfully completed the Criminal Investigator Training Program (“CITP”) and the
    Homeland Security Investigations Special Agent Training (“HSISAT”) Program at the Federal
    Law Enforcement Training Center (“FLETC”), which included training in evaluating probable
    cause and executing search warrants. After my initial training I was assigned to the HSI San
    Ysidro office within a Contraband Smuggling Group and gained experience in narcotics
    investigations and detection of controlled substance offenses. I have also served within the HSI
    San Diego office, assigned to a Financial Investigations Task Force.

 3. Prior to my employment as a Special Agent, I was a Supervisory Intelligence Research Specialist
    in the position of Section Chief within the HSI Office of Intelligence in Washington, DC. I have
    also served as an Intelligence Research Specialist with HSI in the San Francisco office and at the
    El Paso Intelligence Center. I have a Master’s of Public Policy degree from George Mason
    University, a Master’s of Science in Strategic Intelligence degree from the National Intelligence
    University, and a Bachelor’s of Arts degree in Government and International Politics from
    George Mason University.

 4. Because this affidavit is being submitted for the limited purpose of securing an arrest warrant, I
    have not included each and every fact known to me concerning this investigation. I have set
    forth facts that I believe are necessary to establish probable cause to believe that JOSEPH
    EUGENE CLEMENTS violated Title 21, United States Code, Sections 841(a)(1) and 846
    (distribution of a controlled substance; conspiracy to possess with intent to distribute a controlled
    substance; conspiracy to manufacture a controlled substance) (the “Subject Offenses”).

 5. The information contained within the affidavit is based on my training and experience, as well as
    information imparted to me by other law enforcement officers involved in this investigation.

 6. I declare under penalty of perjury that the foregoing is true and correct to the best of my
    information, knowledge, and belief.

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                                                 PROBABLE CAUSE

                                         2017 Background to Investigation

 7. On or about May 3, 2017, an HSI Special Agent (“SA”) received information from an
    anonymous source of information (“SOI”) that an individual using the address P.O. Box 339,
    Nederland, Colorado 80466 was selling “crystal” as a vendor on a particular darknet market
    using a particular moniker (the “Darknet Moniker”).

 8. On or about May 3, 2017, an HSI SA accessed the darknet market and located the vendor
    account of the Darknet Moniker. The vendor profile listed “DMT Pure Crystals” for sale. Under
    the “Product Description” tab on the vendor page, Darknet Moniker stated that they are the
    “largest supplier of DMT on [the darknet market]” and they have made N,N-Dimethyltryptamine
    (“DMT”) 1 for five years. It also stated that they have the largest source of “mimosa trees
    available” and their “bark is made from the finest powdered Root Bark in the world.”

 9. On or about May 5, 2017, an HSI SA received the Application for Post Office Box for P.O. Box
    339 (the “PO Box”). The application listed Akasha SONG at 54 Barker Road, Nederland,
    Colorado 80466 as the renter of the box. The listed telephone number was 713-614-0073 and the
    listed email address was akashasong@hotmail.com.

 10. On May 5, 2017, an HSI SA conducted open-source queries and located a Facebook page in the
     name of Akasha SONG. The profile stated that the user lives in “Amsterdam, Netherlands” and
     was an “Investor at Bitcoin.” The account posted photographs from Nederland, Colorado.

 11. On or about June 15, 2017, an HSI SA located a U.S. Passport in the name of Joseph Eugene
     CLEMENTS, with an address listed of 100 Sunrise Ranch Road, Loveland, Colorado, 80538;
     telephone number 713-614-0073 (that is, the same phone number listed on the Akasha SONG
     PO Box, as described in paragraph 7, supra). The photograph on the U.S. Passport application
     was of the same individual on the Facebook account described in paragraph 10, supra, that is,
     “Akasha SONG.”

 12. As described below, I believe that CLEMENTS is involved in the operation of the Darknet
     Moniker online vendor moniker and that CLEMENTS uses the alias “Akasha Song” in
     furtherance of his drug trafficking activities.

                              Clements Brokers DMT Shipments From Colorado

 13. On or about September 22, 2021, a FedEx package from Brazil manifested as
     “cascaderaizdejuremapretamimosatenuiflorah” was inspected by U.S. Customs and Border
     Protection (“CBP”). The package was destined for a particular person at an address in Brooklyn,
     New York (the “Brooklyn Address”). The consignee phone number was 808-419-8737. Upon
     inspection, CBP found the package contained a brownish red shredded wood-like substance. A
     sample was tested by the CBP lab onsite yielding presumptive positive results for DMT. The
     total drug shipment weighed approximately 104.35 kilograms and was seized by CBP and
     transferred to HSI.



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     DMT is a schedule I controlled substance.
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 14. On or about October 6, 2021, an HSI Task Force Officer (“TFO”) acting in the capacity of an
     undercover officer (“UC”) purported himself as a caller from “Prologis Cargo” (a FedEx sub-
     contractor for heavy packages in the NYC area). The UC contacted the phone number on the
     package, (808) 419-8737 (a phone number that, as described in paragraphs 16 and 17, infra, I
     believe is used by CLEMENTS) and learned the following:

        A. The UC spoke with a male caller (“Caller-1”) who was informed by the UC there is a
           package for delivery to him.

        B. Caller-1 stated he was not aware of any pending packages and was the UC sure it was for
           him. The UC stated it was going to the Brooklyn Address. Caller-1 stated he is in
           Colorado.

        C. The UC told Caller-1 his phone number (808-419-8737) is on the shipping label. Caller-1
           then stated the package is for a customer and he is the shipper, not the intended recipient
           of the package.

        D. Caller-1 stated the order was placed through his company and he would need to check his
           website order history for the correct recipient and contact information.

 15. On or about October 7, 2021, the HSI TFO received a phone call from phone number (516) 838-
     5332. A male caller (“Caller-2”) stated his name and that he was given this phone number by a
     vendor in relation to the whereabouts of his shipment. The TFO, acting again in the capacity of a
     UC employee of Prologis Cargo, told Caller-2 “we” (meaning Prologis, but actually HSI)
     attempted delivery two days ago to the destination address on the package. Caller-2 asked if the
     packages could be redelivered.

 16. On or about October 22, 2021, the Honorable Kristen L. Mix signed a search warrant for AT&T
     to provide information including historical cell site data and subscriber information for phone
     number 808-419-8737. The historical cell site data revealed that 808-419-8737 connected to cell
     towers in Colorado on October 6, 2022, the same date of the UC phone call described in
     paragraph 14, supra. The subscriber for the account associated to 808-419-8737 is Joseph
     CLEMENTS.

 17. On or about October 13, 2021, an HSI SA located another U.S. Passport application dated June
     21, 2021, for Joseph Eugene CLEMENTS with an email address of akashasong@hotmail.com,
     and the primary contact phone number of 808-419-8737, that is, the same phone number listed
     on the parcel containing DMT intercepted en route to New York, as described in paragraph 13,
     supra, and the number used by Caller-1, as described in paragraph 14, supra.

 18. Accordingly, I believe that CLEMENTS was Caller-1 and, from Colorado, brokered the parcel
     containing 104.35 kilograms of DMT to a customer in New York.

           CLEMENTS USES THE DARKNET MONIKER TO DISTRIBUTE DMT

 19. In March 2022, an HSI Special Agent, conducted blockchain analysis of seized darknet
     marketplace data on bitcoin wallets associated with the vendor using the Darknet Moniker and
     traced several transactions of bitcoin being sent to two BitPay addresses. BitPay is a bitcoin
     payment service provider that facilitates the conversion of bitcoin to fiat currency and fiat
     currency to bitcoin. Information from BitPay revealed the following:
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        A. The owners of the accounts receiving the darknet marketplace bitcoin were identified as
           Joseph Eugene CLEMENTS and another individual (“CC-1”) who I believe conspires
           with CLEMENTS to distribute and manufacture DMT. Based on my training and
           experience, I am aware that darknet vendors such as the Darknet Moniker will often send
           their ill-gotten darknet bitcoin to providers such as BitPay in order convert the bitcoin
           into fiat currency or use the bitcoin to purchase goods and services.

        B. On or about March 16, 2021, CLEMENTS loaded $1,000, $2,000, and $3,000 worth of
           bitcoin into his BitPay account. As noted above, I believe that this bitcoin is the proceeds
           from the sale of controlled substances.

        C. On or about March 16, 2021, moments after the transactions described in paragraph
           19(B), supra, CLEMENTS used his BitPay account to spend $4,771.85 at the USPS.com
           postal store.

 20. As noted in paragraph 21, infra, I am aware that the Darknet Moniker uses the USPS to ship
     DMT to his customers. Further, I am aware from darknet drug investigations generally, and my
     training and experience, that darknet drug vendors make extensive use of the USPS to ship drug
     parcels around the United States. I also know that USPS.com provides individuals that ability to,
     among other things, purchase postage and shipping supplies. Finally, I am aware that a purchase
     of $4,771.85 from the USPS.com store is an extremely large purchase, even for a legitimate
     business. And I know from my instigation that CLEMENTS does not run a legitimate business
     that would require that amount of shipping supplies or postage. Accordingly, I believe that
     CLEMENTS’s March 16, 2021, purchase from USPS.com was a purchase made in furtherance
     of, and to promote, his darknet drug trafficking business.

 21. On or about April 1, 2022, using an undercover account, HSI made a purchase of 3.5 grams of
     DMT from the Darknet Moniker vendor account on a darknet marketplace and, subsequently, the
     following occurred:

        A. The DMT was shipped using the United States Postal Service to an undercover HSI
           Postal Box in the state of Colorado.

        B. The printed label showed a return address in Boulder, Colorado, where CLEMENTS
           lives.

        C. The parcel contained an orange powdery substance, consistent with the properties of
           DMT, weighed approximately 4.17 grams in its packaging. On June 14, 2022, laboratory
           analysis reported that the substance was, in fact, DMT.

 22. On or about May 6, 2022, the Honorable S. Kato Crews authorized a search warrant for Apple,
     Inc. to provide information related to the account joeclements@me.com, which I believe from
     my investigation is used by CLEMENTS. Within the search warrant return, I located a
     document which appears to be a full-page document designed to print onto labels. If printed, the
     document would print 30 small labels, each of which appears as follows:




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 23. In addition, on October 22, 2021, the Hon. Kristen L. Mix signed an order pursuant to 18 U.S.C.
     § 2703(d) for email account akashasong@hotmail.com, which I believe, from my investigation,
     is used by CLEMENTS. From this return, I determined that on July 6, 2021, CLEMENTS
     received an email from admin@vapepenswholesale.com. Based on open-source research, I
     determined that admin@vapepenswholesale.com is associated to a company called Vape Pens
     Wholesale, which, among other things, sells vape pen cartridges. I am also aware that a vape
     pen cartridge is an empty vessel that can be loaded with substances to smoke.

 24. Based on my training and experience and familiarity with this investigation, I believe that
     CLEMENTS purchased empty vape cartridges, as described in paragraph 23, supra, to use to
     ship DMT to his darknet customers. I further believe that the labels described in paragraph 22,
     supra, were shipped with these cartridges, because I am aware that DMT can be smoked, such as
     out of a vape pen.

 25. I am aware that darknet vendor using the Darknet Moniker sold, among other things, DMT in
     vape pen cartridges on his darknet vendor page.

 26. Accordingly, I believe that CLEMENTS imports and brokers large DMT shipments, but also
     sells DMT on the darknet as the vendor using the Darknet Moniker.

            CLEMENTS AND CC-1 ARE INVOLVED IN A DRUG CONSPIRACY

 27. On or about April 19, 2022, HSI received information from Coinbase for information related to
     Joseph CLEMENTS and Akasha SONG, and learned the following:

        A. Coinbase customer “Akasha SONG” uses email addresses akashasong@hotmail.com and
           bitcoinakasha@gmail.com.

        B. Coinbase data shows that CLEMENTS uses email address joeclements@me.com and
           phone number (713) 614-0073 (that is the phone number on the PO Box application
           associated to Akasha SONG, as described in paragraph 9, supra).

        C. Akasha SONG and Joseph CLEMENTS provided to Coinbase proof of identity, as
           required by Coinbase to satisfy Know Your Customer (“KYC”) anti-money laundering
           requirements. The IDs show the two persons to be the same individual, as follows:




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  (Left: “Akasha SONG” with a presumably fraudulent Costa Rican ID; Right: Joseph CLEMENTS)

 28. I have reviewed data from PayPal regarding a Venmo account associated to
     akashasong@hotmail.com, which I believe is used by CLEMENTS. The returns show several
     transactions with CC-1, using an email address I am aware is used by CC-1. I am aware that
     darknet vendors often pay their workers using electronic payment methods such as PayPal and
     Venmo.

 29. On or about April 14, 2022, HSI Houston was notified about a shipment of nine packages from
     Brazil, destined for a residence in La Porte, TX, that was intercepted by CBP at the Memphis
     International Mail Facility (the “Brazil Packages”). The shipment was addressed to “AKASHA,
     RAW BRAZIL COSMETICS.” It contained 191.55 kilograms of a substance that was field
     tested and presumptively identified as DMT.

 30. On or about April 15, 2022, HSI Special Agents in Texas conducted a knock-and-talk operation
     in Texas regarding the Brazil Packages, as follows:

        A. HSI Special Agents travelled to the Texas destination address on the Brazil Packages and
           spoke with an individual (“Individual-1”) who admitted to being paid to receive packages
           on behalf of CLEMENTS.

        B. Individual-1 further identified CC-1 as a Houston area-based associate of CLEMENTS.
           Individual-1 stated CC-1 has picked up similar packages over the course of the past year.
           Individual-1 has communicated with CC-1 via texting and other messaging apps
           regarding CC-1 picking up the previous packages on behalf of CLEMENTS.

 31. On or about April 24, 2022, CLEMENTS landed at Denver International Airport following a trip
     in Europe. Law enforcement conducted surveillance and followed CLEMENTS from the airport
     to his residence in Boulder, Colorado. CLEMENTS was observed driving a gray Tesla bearing
     Texas license plate PSX7268.

 32. On or about April 25, 2022, HSI Special Agents in Texas conducted a controlled delivery
     operation in La Porte, TX with respect to the Brazil Packages as follows, in substance and in
     part:


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        A. At approximately 11:40 a.m., at the direction of law enforcement, Individual-1 called
           CLEMENTS via the Telegram mobile application, which CLEMENTS answered.
           Individual-1 informed CLEMENTS that several FedEx boxes had been delivered to her
           home. CLEMENTS expressed surprise that parcels had arrived and stated that they were
           a “replacement” for the “shit that landed,” but seemed pleased at the news. CLEMENTS
           told Individual-1 that he would arrange for pickup of the packages and payment to
           Individual-1 right away.

        B. At approximately 12:06 p.m. CC-1 was observed accessing a vehicle outside his
           residence and approximately 22 minutes later departed enroute to Individual-1’s
           residence. CC-1 was observed speaking on the phone while operating the vehicle.

        C. HSI Houston left the drug-laden packages on the front porch area of the address of
           Individual-1. One of the packages contained approximately 21 kilograms of the originally
           packaged DMT and the other eight packages contained “sham” or simulated controlled
           substance.

        D. Agents and Houston Police observed CC-1 park in the driveway of Individual-1’s
           residence and load all nine packages into his van. CC-1 then departed the residence in his
           van. I believe, based on the sequence of events recounted herein, that CLEMENTS
           directed CC-1 to retrieve the boxes from Individual-1’s house.

        E. A marked Houston Police vehicle initiated a traffic stop on CC-1 several minutes later,
           after observing a traffic violation. CC-1 gave consent to search his van and all nine boxes
           were recovered. CC-1’s phone was also seized.

        F. CC-1 was interviewed by agents at the scene of the traffic. Among other things, CC-1
           stated:

               i. He picked up the boxes for someone named “Akasha” who he claimed was a short
                  female with blonde hair and lived in Baytown, Texas.

              ii. CC-1 gave conflicting statements about when he had last seen Akasha, first stating
                  he saw her the night before and later saying it was a few days prior.

              iii. CC-1 further stated that he picked up the boxes from a friend’s house in Deer Park.

        G. Agents in Houston subsequently obtained a search warrant for CC-1’s phone and learned
           that it had no data, which based on my training and experience indicates it had been
           remotely wiped of all data.

 33. Based on the historical cell site data I have reviewed from CLEMENTS’s phone, I believe that
     CLEMENTS was in the District of Colorado on April 25, 2022 and, accordingly, was in the
     District of Colorado when he directed CC-1 to Individual-1’s home to pick up the DMT, in
     furtherance of a conspiracy to distribute and manufacture DMT.

 34. On or about April 25, 2022, following the controlled delivery operation described above, at the
     direction of law enforcement officers, Individual-1 contacted CLEMENTS and asked him why
     there were cops at the house, and the following occurred, in substance and in part:


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        A. CLEMENTS said, “. . . well, because if they know that we’re making it, that’s not – what
           – is not legal. The bark itself is legal.”

        B. CLEMENTS called Individual-1 back and told her: “Be careful to delete all of your
           communications with me, like everything we’ve ever said to each other.”

        C. Individual-1 asked CLEMENTS what he is doing with “this,” and he repeated the
           question back and then said, “The way it is right now it’s legal, the way it can be done
           with it is illegal.” CLEMENTS also said, “What the hell you think I’ve been doing for
           my whole life – the last like ten years? You know what I’m doing. You know what I
           do.”

        D. Later, CLEMENTS called Individual-1 back and said he was cleaning his house out
           because “they are probably going to come here, too.” CLEMENTS explained to
           Individual-1 that what had happened was a “controlled delivery” and that he was unable
           to get “ahold of” CC-1. CLEMENTS said that when CC-1 “went to [Individual-1’s]
           house to get the boxes, they obviously saw him do that.”

        E. CLEMENTS said he wanted to get an attorney to ensure that Individual-1 is questioned
           properly so that law enforcement does not figure out what CLEMENTS described as their
           “nefarious intent” or “that we’re making it.” CLEMENTS explained that the “place
           where it’s made is at [CC-1’s], he could go down for this . . . if they followed him to his
           house. . . .They may have followed him to his house and discovered the whole thing.”
           CLEMENTS said that it is “most likely” that CC-1 “has been arrested for making it.”

        F. CLEMENTS again told Individual-1 to “delete all of our texts, and everything off your
           phone, and anything with the words ‘Akasha Song’ on it.” He repeated: “Delete all our
           communications.”

 35. Based on my training and experience, I believe that “bark” is a refence to unprocessed DMT,
     which appears as a bark-like substance. Drug dealers sometimes purchase the raw bark to
     process into DMT that can be ingested by customers. Here, however, the seized Brazil Packages
     contained powder, not bark, which I understand to be processed from bark. I am also aware that
     this powder—and, sometimes, the bark itself—contains DMT, a schedule I controlled substance,
     which would make them illegal if the controlled substance was detected. It is also my
     understanding that the powder form of DMT seized as described herein can also be manufactured
     or processed into a more concentrated form of DMT that is sold to end-users. I believe, based on
     my training and experience and familiarity with this investigation, in the calls in paragraph 34,
     supra, CLEMENTS is explaining to Individual-1 that CLEMENTS and CC-1 imported the DMT
     in the Brazil Package with the intention to manufacture DMT at CC-1’s house (the “place where
     it’s made is at [CC-1’s]”) to sell to end users.

 36. Approximately twenty minutes after a call between Individual-1 and CLEMENTS as described
     in paragraph 34, supra, a TFO observed (remotely via a surveillance van equipped with video
     transmission equipment) the trunk of the Tesla open outside of CLEMENTS’s home in Boulder,
     Colorado, and a male walking along the passenger side of the vehicle. There was a few second
     lag time due to the limited signal near the residence; however, when the camera updated again
     the trunk was closed, and a few seconds later the Tesla was no longer in the driveway.


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 37. On or about April 25, 2022, an HSI Special Agent accessed a darknet market and navigated to
     the Darknet Moniker’s vendor page. The vendor page was in “vacation mode.” On or about
     May 2, 2022, an HSI Special Agent navigated to the Darknet Moniker’s vendor site and the page
     had been closed with the following text in the “About” section, “We are closed. Hurry and leave
     before the AI gets you.”

 38. On or about May 6, 2022, U.S. Magistrate Judge S. Kato Crews authorized a search warrant for
     an email account used by CC-1. I have learned from reviewing the contents of this email address
     that, among other things, in 2018, CC-1 appeared to join a Facebook group called “DMT: The
     entities.” Though this is a private Facebook group so I cannot see the content of the posts in the
     group, the title of the group suggests that it is likely a group devoted to DMT.

 39. On or about May 17, 2022, U.S. Magistrate Judge Nina Y. Wang authorized a search warrant for
     CC-1’s iCloud account. I have learned from reviewing the contents of this account that, among
     other things:

        A. On or about April 27, 2022, two days after the shipment of DMT was seized from CC-1,
           someone using the name “Gerald” sent a message to CC-1 asking “Everything good,
           we’ll [sic] as good as it can be?” CC-1 responded: “Yeah all good.” I believe that
           “Gerald” was checking in on CC-1, knowing about the DMT seizure.

        B. On or about May 7, 2022, “Gerald” sent CC-1 a link to a news article titled “Texas man
           indicted for importing ‘powerful psychedelic’” with a message that told CC-1 to “Take a
           look at this.” The article reported on a federal criminal case in which a man had been
           indicted on drug trafficking charges for importing 4.5 kilograms of DMT from Brazil.
           CC-1 responded a few minutes later with: “Daaaaang,” followed by what appears to be
           this emoji:



            Based on my familiarity with this case, I believe that “Gerald,” knowing about the events
            of April 25, 2022, in which CC-1 was caught with almost 200 kg of DMT imported from
            Brazil, sent the link to CC-1 to show CC-1 the legal consequences that could befall him.
            CC-1 responded with surprise and shock.




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 40. On May 27, 2022, a representative sample of the 191.55 kg DMT shipment from the Brazil
     Packages was delivered to the Colorado Bureau of Investigation laboratory for confirmatory
     testing. On June 14, 2022, I learned that the lab report concluded that the substance was DMT.



                                                       s/ Kevin Vassighi
                                                       Special Agent Kevin Vassighi
                                                       Homeland Security Investigations


                         17th day of June, 2022
 Sworn to before me this_____


 ____________________________
 Hon. S. Kato Crews
 United States Magistrate Judge
 District of Colorado

 Affidavit reviewed and submitted by Andrea Surratt, Assistant United States Attorney.




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